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                              UNITED STATES BANKRUPTCY COLTRT
                               SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

In re:

Kersandra Brooks,                                                  Case No.: 17-137L9-RBR
       Debtor..                                                    Chapter 13
                                  I


                                                                                                  P.A.
      COMES NOW, Damian G. Waldman, Esquire andthe Law Offices of Damian G. Waldman,
                                                                                         hereby        its
 attorneys for Yellowstone Capital, LLC (hereinafter referred to as "secured Creditor"),
                                                                                                enters
 notice of appearance in the aborie-styled action.

   The undersigned respectfully requests the following to be added to the Court's Mailing Matrix in
 according to Rule 2002(e):

                                      DAMIAN WALDMAN, ESQ.
                                 Law Offices of Damian G. Waldman, P.A.
                                      Auorneys for Secured Creditor
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                                       Email 2 : damian@dwaldmanlaw. com
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                                      CERTIF'ICATE OF SERVICE

 I fmREBY CERTIFY         that atrue and correct copy of the above was served via ECF/CM upon the
 parties listed on the attached Service List on   Apllrl2l,20l7:

                                                             /s/ Damian G. Waldman
                                                             Damian G. Waldman, Esquire
                                                             Florida Bar No.: 0090502
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                                                             Largo,FL33779
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                                                             Email 1 : bankruptcy@du,aldmanlaw.com
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                                                             Email 3 : service@,dwaldmanlarv.com
                                                             Attorneys for Secured Creditor
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